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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 STUART E. STEINBERG,
 et al.,

         Plaintiffs,

 V.                                                               Case No. 1:20-cv-2996-RCL

 THE REPUBLIC OF SUDAN

         Defendant.


                                            CERTIFICATION

        Under Federal Rule of Civil Procedure 5.l(b) and 28 U.S.C. § 2403, a federal court must

certify to the Attorney General of the United States that the constitutionality of a statute has been

questioned. See Fed. R. Civ. P. 5. l(b); 28 U.S.C. § 2403. Plaintiffs in the above-captioned matter

are the estates and family members of alleged victims of terrorist attacks by Hamas.                       See

Compl. 5-6, ECF No. 1. In companion cases, plaintiffs have obtained (or are attempting to obtain)

default judgments against the Islamic Republic of Iran and Syrian Arab Republic for materially

supporting Hamas and thereby causing physical and emotional harm to plaintiffs. 1 In this lawsuit,

plaintiffs sued the Republic of Sudan ("Sudan") under the Foreign Sovereign Immunities Act

("FSIA") based on Sudan's alleged material support for these terrorist attacks. Compl. 6.

        Sudan moves to dismiss plaintiffs' claims for fack of subject-matter jurisdiction based on

the United States' reinstatement of Sudan's foreign sovereign immunity, for lack of personal

jurisdiction, and for failure to state a claim. See Mot. to Dismiss, ECF No. 23. Plaintiffs respond



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  See Order and Judgment, Steinberg v. Islamic Republic of Iran, No. l:17-cv-1910 (RCL) (D.D.C. Nov. 18, 2019);
Finding of Liability, Henkin v. Islamic Republic of Iran, No. l:18-cv-1273 (RCL) (D.D.C. July 12, 2021); Status
Report, Fuld v. Islamic Republic ofIran, No. 1:20-cv-2444 (RCL) (D.D.C. Dec. 22, 2021).

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by challenging the constitutionality of (1) the United States-Sudan Claims Settlement Agreement

("CSA"), Feb. 9, 2021, T.I.A.S. No. 21-209, and (2) the Sudan Claims Resolution Act ("SCRA"),

28 U.S.C. § 1605A note. Plaintiffs, as required by Rule 5.l(a)(l), filed a notice of constitutional

question contemporaneous with their response. See Fed. R. Civ. P. 5.l(a)(l). Plaintiffs served

this notice on the Attorney General on May 13, 2022. Certificate of Service, ECF No. 26.

       In accordance with the Court's obligations under Rule 5.1 and 28 U.S.C. § 2403, the Clerk

of the Court is hereby ORDERED to serve a copy of this certification to the Office of the Attorney

General of the United States and the Office of the United States Attorney for the District of

Columbia by certified mail. If the Attorney General elects to intervene, he must do so no later

than sixty (60) days from plaintiffs' filing of their notice. See Fed. R. Civ. P. 5.l(c). Until this

time has expired, the Court will not enter a final judgment holding these provisions

unconstitutional. See id.



       It is SO ORDERED.



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Date: May ___, 2022
                                                             Royce C. Lamberth
                                                             United States District Judge




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